      Case 1:19-cv-10125-ALC-GWG Document 101 Filed 11/02/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                    November 2, 2020
------------------------------------------------------------x
   TYSON FOODS INC.,                                             :
                                                                 :
                                               Plaintiff,        :
                                                                 :     19-cv-10125 (ALC) (GWG)
                    -against-                                    :
                                                                 :     ORDER
  KEYSTONE FOOD HOLDINGS LIMITED                                 :
  (n/k/a BEEF HOLDINGS LIMITED) and                              :
  MARFRIG GLOBAL FOODS S.A.,                                     :
                            Defendants.                          :
------------------------------------------------------------x

ANDREW L. CARTER, JR., United States District Judge:

         The Court adjourns the November 2, 2020 telephone conference to November 17, 2020 at
2:00 p.m. Plaintiff should initiate the call to the other parties, and once all relevant parties are on
the line, should contact the Court at 1-888-363-4749 on the date and time specified above and once
prompted, should dial access code 3768660.


SO ORDERED.

Dated:           November 2, 2020
                 New York, New York

                                                                __________________________________
                                                                      ANDREW L. CARTER, JR.
                                                                      United States District Judge
